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FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DWISION 23 el 441 -+

lN THE UNITED STATES DISTRlCT COURT _.»:;LL,» n ,- __ z wl

 

UNITED STATES OF AMERICA

 

Plaintiff,
VS CR. NO. 04-20134-Ml
JOHN KNOX

Defendant(s)

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

'I‘his Cause was set for a Change of Plea. Hearing on Wednesday, July
6, 2005 at 8:45 a.m.

The Court continued the matter upon its own motion to Friday, Jul§,r
22, 2005 at 11:00 a.m. with a trial date of Monday, August l, 2005.

The period from Julyr 15, 2005 through August 12, 2005 is excludable
under 18 U.S.C. § Blél(h) (8) (A) because the ends of justice outweigh the

need for a speedy trial.

IT Is so 0RDERED this the _¢Q day of June, 2005.

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JON HIPPS MCCALLA
UN ED STATES DISTRIC'I` JUDGE

 

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Th‘$ dow h lor 32('0) FRGrP on

with Rule 55 and

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Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CR-20134 Was distributed by faX, mail, or direct printing on
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David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

